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uantlco Houslng, LLC; LPC Pend eton Quantlco

P
Inc.; Lincoln Property Company;

, Inc.; Lincoln Military Proper% Mz;lna ement,
nlte t

ates of

'America; United States Department of Defense;

and the United States Departrnent of the Navy

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORN[A

TIMOTHY WAG_GONER, TIMIYA
WAGGONER, a mlnor, by and throu

her uardian ad litem BRITTA

WA ONER,

Plaintiffs,

VS.

LINCOLN BP MANAGEMENT, INC.;
CAMP PENDLETON & UANTICO
HOUSING LLC; LPC PE LETON
UANTICO PM, INC.; LINCOLN

ILITARY PROPERTY
MANAGEMENT, INC.; LINCOLN
PR()PERTY COMPANY; TEXAS
LINCOLN PROPERTY; UNITED
STATES OF AMERICA, UNITED
STATES DEPARTMENT OF
DEFENSE AND UNITED STATES
DEPARTMENT OF THE I_\IAVY AND
DOES 1 through 500, incluslve,

Defendants.

 

 

 

Action No. 11CV0277-IEG-MDD

JOINT MOTION FOR DISMISSAL
OF ACTION WITH PREJUDICE

[F.R.C.P. 41(3)(1)(A)(ii)]

gPROPOSED) ORDER
ONCURRENTLY]

LODGED

IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs
TIMOTHY WAGGONER and TIMIYA WAGGONER, a minor, by and through

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944873.01/OC
-///

JOINT MOTION FOR DISMISSAL OF ACTI_ON WITH PREJUDICE

 

Case 3:11-cv-00277-|EG-I\/|DD Document 36 Filed 12/21/11 Page|D.lSZ PageZon

 

 

 

1 her guardian ad litem BRITTANY WAGGONER (collectively "Plaintiffs"), on the
2 one hand and Defendants LINCOLN BP MANAGEMENT, INC.; CAMP
3 PENDLEiTON & QUAN'I'ICO HOUSING LLC; LPC PENDLETON QUANTICO
4 PM, INC.; LINCOLN MlLITA-RY PROPERTY MANAGEMENT, INC.;
5 LINCOLN PROPERTY COMPANY; TEXAS LINCOLN PROPERTY; UNITED
6 STATES=OF AMERICA, UNITED STATES DEPARTMENT OF DEFENSE AND
7 UNITED STATES DEPARTMENT OF THE NAVY (collectively,' "Defendants"),
8 on the other hand, through their undersigned counsel of record, that pursuant to
9 Federal Rules of Civil Procedure, Rule 4_1(a)(1)(A)(ii), the above-captioned action
10 including the Complaint filed herein, and each and every claim for relief by
11 Plaintiffs:be dismissed With prejudice, with each party to bear its/his/her own costs
12 and attorneys' fees. '
13 Dated: December §'L, 2011' . ALLE N MATKINS LECK GAMBLE
' _ MALLORY & NATSIS LLP
14 A. KRISTINE FLOYD
IULIE .RUSS
15
16 BY= /
U.R RUSS /
17 A s for Defe dants
Lincoln BP Management, Inc.; Cam
18 § . Pendleton & Quantico_ Housin, LL;
19 §:PC q§nl`d[lielt§)anry antiecr<t)yPM,
mcc 1
Managernent, Inc.; L}i)ncoln Prope_rty
20 Compan; United States of America;
United tates De e?artment of Defense,
21 and the United S ates Department of
the Navy
22
' 23 Dated: December 2011 MILLER LAW, INC
JOHN C. MILLER
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25 : BY= /
; J HN C LBR "°`“~_~
26 . _ tto s for Plaintiffs ' ' _
othy Wag oner and Timiya
27 Waggoner,a or, by and throu
; _ ~her Guardian ad Litern, Brlttany
` 28 ' Waggoner
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Wm°"°° JOINT MorroN ron DISMISSAL oF Acr!oNWITHPREJuDICE

 

 

